                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

 KAREN MCNEIL, et al.,

                    Plaintiffs,

         v.                                           Case No. 1:18-cv-00033

 COMMUNITY PROBATION SERVICES,                        Judge Campbell/Magistrate Judge Frensley
 LLC; et al.,

                    Defendants.
                                                      JURY DEMAND



    MOTION FOR EXTENSION OF TIME TO FILE A MOTION TO SUBSTITUTE

       On September 14, 2020, named Plaintiff Tanya Mitchell unexpectedly suffered a stroke

and passed away at the age of 55. Plaintiffs are preparing to move, pursuant to Rule 25(a)(1), to

substitute the Administrator of Ms. Mitchell’s estate as class representative for Ms. Mitchell’s

damages claims. A motion to substitute is currently due on January 12, 2021, which is 90 days

from the date the Suggestion of Death was filed. See Dkt. 398 (filed October 14, 2020). Although

Plaintiffs have been working diligently with Ms. Mitchell’s family and pro bono counsel at a

Nashville firm to secure Derilus Hilfort’s appointment, which must occur before a motion to

substitute can be filed in this case, additional time is likely required. Thus, out of an abundance of

caution, Plaintiffs respectfully request that this Court extend the deadline for Plaintiffs to file a

motion to substitute by two weeks, to January 26, 2021. For the reasons explained below, this

additional time is likely necessary to finalize the petition that must be filed in the state court and

approved before Plaintiffs can file a motion to substitute in this case. County Defendants are




                                                  1

Case 1:18-cv-00033         Document 408        Filed 01/05/21       Page 1 of 5 PageID #: 11959
unopposed to Plaintiffs’ motion. PSI Defendants and CPS Defendants did not respond to counsel’s

email requesting their position on the motion.

         Pursuant to Rule 25 and Rule 6(b), this Court has discretion to extend the 90-day period

to file a motion to substitute a deceased plaintiff for good cause. See Fed. R. Civ. P. 25 advisory

committee’s note to 1963 amendment (“The motion may not be made later than 90 days after the

service of the statement unless the period is extended pursuant to Rule 6(b), as amended.”); Fed.

R. Civ. P. 6(b) (authorizing extension “for good cause”); In re In re Nat’l Auto Credit, Inc. Sec.

Litig., 1999 WL 33919791, at *21 (N.D. Ohio Oct. 12, 1999) (noting that the “court has discretion

to extend the 90-day time limit motion under Fed.R.Civ.P. 6(b) for cause shown.”); see also In re

Aredia & Zometa Prod. Liability Litig., 2013 WL 3214978, at *1 (M.D. Tenn. June 24, 2013).

       Good cause exists to extend Plaintiffs’ time to file a motion to substitute. Counsel for

Plaintiffs began working with Tanya Mitchell’s daughter, Indya Hilfort, who is also a named

Plaintiff, as quickly as reasonably possible following her mother’s death to resolve the state-court

estate issues that must be resolved prior to filing a motion to substitute in federal court. The family

decided that Tanya Mitchell’s son, Derilus Hilfort, would seek appointment as the Administrator

of Ms. Mitchell’s estate. Mr. Hilfort is currently represented pro bono by attorneys from Baker,

Donelson, Bearman, Caldwell & Berkowitz P.C., who are helping him navigate the process of

seeking appointment as Administrator. Mr. Hilfort has obtained signed, notarized waivers of bond,

inventory, and accountings from himself and Ms. Mitchell’s other two children. Mr. Hilfort and

his counsel are currently attempting to obtain a signed, notarized waiver from Ms. Mitchell’s

estranged husband. If such a waiver cannot be obtained, Mr. Hilfort will post a bond as required

by state law. The time required either to obtain Ms. Mitchell’s husband’s signature or to post a




                                                   2

Case 1:18-cv-00033         Document 408          Filed 01/05/21     Page 2 of 5 PageID #: 11960
bond will likely cause Mr. Hilfort to file his petition in state court after January 12, which would

also delay Plaintiffs’ filing of a motion to substitute.

         Plaintiffs anticipate that Mr. Hilfort and his attorneys will be able to file the required

documents in state court and secure approval of his petition before January 26, 2021, and have

been advised by Mr. Hilfort’s attorneys that the state court is likely to appoint him Administrator

of his mother’s estate on the same day he files the paperwork. Until an administrator of Ms.

Mitchell’s estate is appointed, Plaintiffs cannot file a motion to substitute.1 Accordingly, Plaintiffs

request that this Court extend the period of time for Plaintiffs to file their motion to substitute by

two weeks, to allow sufficient time for Mr. Hilfort to petition to become administrator of Tanya

Mitchell’s estate so that he may litigate his mother’s surviving damages claims.

         For the foregoing reasons, this Court should extend the time for Plaintiffs to file a motion

to substitute Ms. Mitchell’s estate as a party to her surviving damages claims until January 26.



    Dated: January 5, 2021                                      Respectfully Submitted,

                                                                /s/ Elizabeth Rossi                     .

    Elizabeth Rossi (pro hac vice)                              Matthew J. Piers (pro hac vice)
    Laura Gaztambide Arandes (pro hac vice)                     Chirag G. Badlani (pro hac vice)
    Eric Halperin (pro hac vice)                                Kate E. Schwartz (pro hac vice)
    Alexandria Twinem (pro hac vice)                            HUGHES, SOCOL, PIERS, RESNICK &
    CIVIL RIGHTS CORPS                                          DYM, LTD.
    1601 Connecticut Ave. NW, Suite 800                         70 W. Madison St., Suite 4000
    Washington, DC 20009                                        Chicago, IL 60602
    Telephone: (202) 844-4975                                   Telephone: (312) 580-0100
    Facsimile: (202) 609-8030                                   Facsimile: (312) 580-1994
    elizabeth@civilrightscorps.org                              mpiers@hsplegal.com
    laura@civilrightscorps.org                                  cbadlani@hsplegal.com

1
  Under Tennessee law, in some circumstances, an heir may be able to revive a deceased person’s claims without
becoming the administrator of the person’s estate. However, that alternative path to substitution is available only when
no one is willing to become an administrator of the estate. See Tenn. Code § 20-5-104. Because Mr. Hilfort is willing
to be the administrator, Plaintiffs must wait until he is appointed to file a motion to substitute.

                                                           3

Case 1:18-cv-00033              Document 408            Filed 01/05/21          Page 3 of 5 PageID #: 11961
eric@civilrightscorps.org                    kschwartz@hsplegal.com
alexandria@civilrightscorps.org

David W. Garrison, BPR 24968                 Kyle Mothershead, BPR 22953
Scott P. Tift, BPR 27592                     The Law Office of Kyle Mothershead
BARRETT JOHNSTON MARTIN &                    414 Union St., Suite 900
GARRISON, LLC                                Nashville, TN 37219
Philips Plaza                                Telephone: (615) 982-8002
414 Union St., Suite 900                     Facsimile: (615) 229-6387
Nashville, TN 37219                          kyle@mothersheadlaw.com
Telephone: (615) 244-2202
Facsimile: (615) 252-3798
dgarrison@barrettjohnston.com
stift@barrettjohnston.com




                                         4

Case 1:18-cv-00033      Document 408   Filed 01/05/21   Page 4 of 5 PageID #: 11962
                               CERTIFICATE OF SERVICE

      I certify that on January 5, 2021, I electronically filed the foregoing using the CM-ECF
System, which caused notice to be sent to all counsel of record who are registered with the
CM/ECF system, including the following Counsel for Defendants:

Daniel H. Rader, IV                               Cassandra M. Crane
Moore, Rader, Clift & Fitzpatrick, P.C.           Farrar & Bates, LLP
P O Box 3347                                      12 Cadillac Drive
Cookeville, TN 38502                              Suite 480
(931) 526-3311                                    Brentwood, TN 37027-5366
Fax: (931) 526-3092                               615-254-3060
Email: danny@moorerader.com                       Fax: 615-254-9835
                                                  Email: casey.crane@farrar-bates.com
Brandt M. McMillan
Tune, Entrekin & White, P.C.                      Lucy D. Henson
315 Deaderick Street                              Lucy D. Henson, PLLC
Suite 1700                                        118 S Second Street
Nashville, TN 37238                               P.O. Box 333
(615) 244-2770                                    Pulaski, TN 38478
Email: bmcmillan@tewlawfirm.com                   (931) 424-8713
                                                  Fax: (931) 424-8715
Timothy N. O’Connor                               Email: henson@midsouthlaw.com
Tune, Entrekin, & White, P.C.
315 Deaderick St., Ste. 1700
Nashville, TN 37238-1700
p: (615) 244-2770
Email: toconnor@tewlawfirm.com

Robyn Beale Williams
Farrar & Bates, LLP
12 Cadillac Drive
Suite 480
Brentwood, TN 37027-5366
(615) 254-3060
Fax: (615) 254-9835
Email: robyn.williams@farrar-bates.com            s/ Elizabeth Rossi




                                              5

Case 1:18-cv-00033       Document 408       Filed 01/05/21    Page 5 of 5 PageID #: 11963
